408 F.2d 802
    Theodore Roosevelt RICHARDS, Jr., Appellant,v.UNITED STATES of America, Appellee.
    Misc. No. 1282.
    United States Court of Appeals Fifth Circuit.
    March 12, 1969.
    
      Theodore Roosevelt Richards, Jr., pro se.
      Edward F. Boardman, U. S. Atty., Tampa, Fla., for appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant, represented by privately-retained counsel, was convicted in the district court of concealing forged securities of the United States, a violation of 18 U.S.C. § 472, for which he was sentenced to four years imprisonment. Counsel, after filing notice of appeal, requested and was granted leave to withdraw.
    
    
      2
      Appellant has failed to pay the docketing fee for an appeal or to request leave to appeal in forma pauperis under the Criminal Justice Act, even though informed by this court of his right to do so. The clerk of this court has repeatedly notified appellant of the consequences of his failure to act, but no response has been forthcoming.
    
    
      3
      Therefore, pursuant to this Court's Local Rule 9(b), the appeal is dismissed for lack of prosecution.
    
    